       Case 8:04-cr-00236-SDM-MSS Document 120 Filed 09/07/05 Page 1 of 8 PageID 421
-40 245B (Rev 12/03) Sheet I   - Judgment in a Cri~ninalCase

                            UNITED STA TES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER:       8:M-cr-236-T-23MSS
                                                               USM NUMBER:



GABRIEL RODRIGUEZ
                                                               Defendant's Attorney: Elio Vazquez, rer

THE DEFENDANT:

X pleaded guilty to count THREE of the Indictment.
-

TITLE & SECTION                      NATURE OF OFFENSE                                   OFFENSE EhTDED             COUNT

18 U.S.C. § 1344                     Bank Fraud                                          January 29, 1998           THREE


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Rel'orm Act of 1984.

X Counts ONE and TWO are dismissed in accordance with the plea agreement.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: September 6 , 2005




                                                                                    STEVES D. 3lERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: Srptcmkr       7r     ,2005
        Case 8:04-cr-00236-SDM-MSS Document 120 Filed 09/07/05 Page 2 of 8 PageID 422
                               -
A 0 2458 (Rev 12/03) Sheet 2 Imprisom~ent
Defendant:          GABRIEL RODRIGUEZ                                                                   Judgment - Page 1of 6
Case No.:           8:04-cr-236-T-23MSS



                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TIME SERVED.




- The courr makes the following recommendations to the Bureau of Prisons:



- The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to rhe United States Marshal for this district.

          - at - a.m.1p.m. on -.
          - as notified by the United S~arrsMarshal.
-
X The dcfendanr shall repon to U.S. Probation.


                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                      , with a certified copy of this judgment.



                                                                                       United States Marshal

                                                                     By:
                                                                     Deputy Marshal
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A 0 245B (Rev. 12/03) Sheer 3 - Supervised Release
Defendant:         GABRIEL RODRIGUEZ                                                            Judgment - Page 3of 6
Case No.:          8:04-cr-236-T-23MSS

                                                      SUPERVISED RELEASE

        Upon release from imprisomlent, the defendant shall be on supervised release for a term of SIXTY (GO) MONTHS as Lo
count three of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendanr shall not commit another federal. state, or local crime, and shall not possess a
fire am^, anmunition, or destructive device as defined in 18 U.S.C.S 921.
         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's derermination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Paymenrs sheet of this judgment.

          The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the anached page.

                                         STANDARD CONDITIONS OF SUPERVISION
          the dcfcndant shall not leave the judicial district without the permission ofthc court or probation officer;
          the defendant shall report to the probation officer and shall submit a truthful and complctc witten report within the first five days
          of each month;
          the defendant shall answer truthfully all inquirks by the probation officer and follow the instructions of thc probation officer:

          the defendant shall support his or hcr dcpcndents and meet other family responsibilities;
          the dcfcndant shall work regularly at a lawful occupation, unless excused by thc probation officer for schooling, training, or other
          acceptable rcasons;
          the defendant shall notify the probation ofticer at least ten days prior to any change in rcsidence or employment:

          the defendant shall refrain from excessive use of alcohol and shall not purchasc, posscss. use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
          the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered;
          the defendant shall not associatc with any pcrsons engaged in criminal activity and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer:
          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pernit confiscation of
          any contraband observed in plain view of the probation officer:
          the dcfcndant shall notify the probation o f h r within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
          the defcndant shall not enter into any agreement to act as an informer or a special agent of a law cnforcemcnt agcncy without the
          permission of the court;
          as dtrccted by the probation officer. the defcndant shall notifythird parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officcr to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
       Case 8:04-cr-00236-SDM-MSS Document 120 Filed 09/07/05 Page 4 of 8 PageID 424
A 0 21SB (Rev. 12/03) Sheet 3C - Supervised Kelease

Defendant:        GAE3RIEL RODRIGUEZ                                                         Judgment - Page 4 of 6
Case No.:         8:W-cr-236-T-23MSS
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the I'ollowing additional conditions of supervised release:


-
X        The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
         obligating himself for any major purchases without approval of the probation officer.

-
X        The defendant shall provide the probation officer access to any requested financial information.
       Case 8:04-cr-00236-SDM-MSS Document 120 Filed 09/07/05 Page 5 of 8 PageID 425
 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Perialties

 Defendant:          GABRIEL RODRIGUEZ                                                      Judgment - Page 5--       of 6
 Case No.:           8:01-cr-236-T-23MSS

                                           CRIMINAL MOhTETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                         Fine                        Total Restitution

          Totals:            $100.00                            $ waived                    $


 -        The determination of restitution is deferred until -.          An Anzerzded Judgment ill a C r i n ~ i ~Case
                                                                                                                  ~ a l ( A 0 245C) will
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant !nakes a parrial. payment, each payee shall receive an approximately proportioned payment, unless
          spec~fiedotherwise in the priorlty order or percentage pa ment column below. However, pursuant to 18 U.S.C.5
          3664(i), all non-federal victims must be paid before the dnited States.
                                                                                                              Priority Order or
                                                 *Total                     Amount of                         Percentage of
 Name of Pavee                                 Amount of Loss            Restitution Ordered                  Pawnent




                             Totals:           -
                                               $                         $


 -        Resritution amount ordered pursuant to plea agreement S
-         The defendant shall pay inrerest on any line or restitution of more than $2,500. unless the resrilution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet
          6 map be subject to penalries for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
-         The court determined that the defendant does not have the ability to pay interest and ir is ordered that:
         -          the interest requirement is waived for the - fine     - restitution.
         -          the interest requirement for the - fine - restirurion is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.f
        Case 8:04-cr-00236-SDM-MSS Document 120 Filed 09/07/05 Page 6 of 8 PageID 426
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Paymenls

Defendant:        GABRIEL RODRIGUEZ                                                         Judgment - Page 6of 6
Case No.:         8:04-cr-236-T-23MSS


                                                  SCI-IEDULEOF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            - not later than                   . or
                            -in accordance - C. - D. - E or                           F below: or
                  Payment to begin immediately (may be combined with -C, -D, or -F below): or
                  Payment in equal                 (e.g.. weekly. monthly, quarterly) installments of $            over a
                  period of          (e.g., months or years). to commence             days (e.g., 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                         weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g ., mont
                                                   ce.g..s or years) to comnlence                 (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision: or
                  Payment during the term of supervised release will conmence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
                  Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this jud ment imposes a period of im                          payment of criminal
         5                              b                             7
monetar penalties is due during im risonment. All crimina monetary penalties, except
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
                                                                                                                     made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
         Property located at 2 12 Riviera Circle, Weston. Florida. and 3676 Heron Ridge Lane, Weston. Florida:
         hlonies seized from bank accounts, including $60,734.70 from SunTrust Bank, Account Number O436002OOOO989:
         $1,929.26 seized from SunTrusr Bank, Account Number 0436000009466: $25.81 seized from Bank of America.
         Account Number 003335020805: and $32.68 seized from Bank of America. Account Number 03739062688.


Payments shall be applied in the following ortlcr: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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       Case 8:04-cr-00236-SDM-MSS        Document 112       Filed 07115/2OO5      Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.                                         :   Case No. 8:04-cr-236-T-23MSS

  GABRIEL RODRIGUEZ,

          Defendant.


                          PRELIMINARY ORDER OF FORFEITURE

          THIS CAUSE comes before the Court on Motion of the United States of America

  for Entry of a Preliminary Order of Forfeiture, which, at sentencing, shall be a final order

  of forfeiture as to defendant Gabriel Rodriguez's right, title, and interest in property

  subject to forfeiture. For good cause shown, the Motion of the United States is

  GRANTED. The Court hereby finds that the United States has established the requisite

  nexus between the assets listed below and the bank fraud violation to which defendant

  Gabriel Rodriguez pled guilty pursuant to 18 U.S.C. § 1344, as charged in Count Three

  of the Indictment:

                  a.   $60,734.70 seized from SunTrust Bank Account
                       Number 0436002000989;

                  b.   $1,929.26 seized from SunTrust Bank Account
                       Number 0436000009466;

                  c.   $25.81 seized from Bank of America Account Number
                       003335020805; and

                  d.   $32.68 seized from Bank of America Account Number
                       03739062688.
Case 8:04-cr-00236-SDM-MSS Document 120 Filed 09/07/05 Page 8 of 8 PageID 428

    Case 8:04-cr-00236-SDM-MSS          Document 112      Filed 0711!ZOO5      Page 2 of 2



  Accordingly, it is hereby

         ORDERED, ADJUDGED, and DECREED that all right, title, and interest of

  defendant Gabriel Rodriguez in the funds seized from the accounts identified in "a"

  through "d" above are hereby CONDEMNED and FORFEITED to the United States of

  America, pursuant to the provisions of 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.

  5 2461(c), for disposition according to law.
         The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

  and disposition of the funds, and to entertain any third party petitions that may be

  asserted in these proceedings,

         DONE and ORDERED in Chambers in Tampa. Florida, this             I SK day of



                                                                                      \
                                            UNITED STATES DISTRICT JUDGE


  Copies to: Anita M. Cream, AUSA
             Attorneys of Record
